
485 So.2d 13 (1986)
L.G.R., a Juvenile, Appellant,
v.
The STATE of Florida, Appellee.
No. 85-291.
District Court of Appeal of Florida, Third District.
March 11, 1986.
Bennett H. Brummer, Public Defender, and Thomas G. Murray, Asst. Public Defender, for appellant.
Jim Smith, Atty. Gen., and Richard L. Kaplan, Asst. Atty. Gen., for appellee.
Before HENDRY, BASKIN and JORGENSON, JJ.
PER CURIAM.
Finding no error in the trial court's denial of defendant's motion to dismiss the amended petition, we affirm the adjudication of delinquency. The amended petition was filed after the expiration of the forty-five day filing period and merely substituted the correct name of the victim of the alleged offenses; it did not substantially alter the initial petition. Because the initial petition adequately informed defendant of the charges, we hold that the timely filing of the initial petition tolled the statutory filing period. State v. D.I., 474 So.2d 408 (Fla. 4th DCA 1985); see Rubin v. State, 390 So.2d 322 (Fla. 1980); State v. Garofalo, 453 So.2d 905 (Fla. 4th DCA 1984). Contra J.H. v. State, 424 So.2d 928 (Fla. 1st DCA 1983).
Affirmed.
